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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                     Dallas Division


    CHARLENE CARTER,                                   Civil Case No. 3:17-cv-02278-X

                          Plaintiff,

    V.

    SOUTHWEST AIRLINES CO., AND
    TRANSPORT WORKERS UNION OF AMERICA,
    LOCAL 556,

                          Defendants.


    PLAINTIFF CHARLENE CARTER’S REPLY TO DEFENDANTS’ AMENDED JOINT
         RESPONSE TO HER MOTION FOR SANCTIONS REGARDING THEIR
           NON-COMPLIANCE WITH THE COURT’S JULY 1, 2022 ORDER

      Pursuant to the Federal Rules of Civil Procedure, Rule 37, Plaintiff Charlene Carter (“Carter”),

by and through her undersigned attorneys, files her Reply to Southwest Airlines Co. (“Southwest”)

and Transport Workers Union of America Local 556’s (“Local 556”) Amended Joint Response to

Carter’s Motion for Sanctions for non-compliance with the Court’s July 1, 2022 Order.1

                                               SUMMARY

      The Court should grant Carter’s requests for fees and expenses because, despite Southwest and

Local 556’s arguments in their Amended Response, (A) Southwest and Local 556 controlled

Nevarez’s schedule but failed to take necessary, affirmative steps to make him available for his

July 4, 2022 court-ordered deposition, such as pulling him from his scheduled trips and requiring

him to appear; (B) the CBA gives Southwest and Local 556 rights to pull flight attendants from

their trips so that they may comply with subpoenas and court orders; and (C) the Court ordered



1
    Dkt. No. 350.
                                                   1
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Southwest and Local 556 to make Nevarez available for a July 4 deposition because he was

unavailable for trial, so the Defendants’ complaints about taking an earlier deposition are

irrelevant. “If a party or a party's officer, director, or managing agent . . . fails to obey an order to

provide or permit discovery,” the court may impose sanctions.2 Southwest and Local 556 failed to

comply with this Court’s July 1 order to make Nevarez available for his court-ordered July 4

deposition,3 and their failure to take appropriate actions pursuant to the Court’s order caused Carter

to incur additional fees and expenses associated with Nevarez’s deposition.

     A. Southwest and Local 556 controlled Nevarez’s schedule but failed to take necessary,
        affirmative steps to make him available for his July 4, 2022 court-ordered deposition,
        such as pulling him from his scheduled trips and requiring him to appear.

     Southwest and Local 556 ducked the Court’s July 11, 2022 Order4 to address Nevarez’s

deposition testimony5 and explain why the company refused to pull Nevarez from his scheduled

trips and make him available for his July 4, 2022 deposition. Instead, Southwest and Local 556

assert, “[F]rankly, [Southwest and its counsel] were more focused on securing Nevarez’s

attendance at his deposition than on his schedule.”6 This response is too clever by half. Southwest,

as Nevarez’s employer, knew and controlled his schedule, could have pulled Nevarez from his

flights and required Nevarez to sit for the court-ordered deposition. Of course, Southwest and

Local 556 also knew that the company’s control over Nevarez’s schedule and their ability to pull




2
  See Fed. R. Civ. P. 37(b)(2)(A).
3
  Dkt. No. 297.
4
  Dkt. No. 339.
5
  Nevarez testified at his deposition: “I was flying, you were aware of it, Southwest was aware of
it. If they wanted to make me available, they would have pulled my trip and they would have told
me to come to Dallas.” Nevarez Deposition Tr. 22:16-21 (Dkt. No. 330-1).
6
  Dkt. No. 350, p.4
                                                   2
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him from scheduled trips, were the necessary means of “securing Nevarez’s attendance” and

complying with the Court’s July 1 order to make him available for the July 4 deposition.7

     Nevarez’s testimony confirmed his knowledge that Southwest knew his schedule and that they

could have pulled his trip and required him to appear.8 Despite the Court’s July 11 Order,9

Southwest and Local 556 refused to address Nevarez’s testimony and explain why they did not

pull him from his trips and take other affirmative steps to comply with the July 1 order to make

Nevarez available.

     Southwest and Local 556 failed to comply with the Court’s July 1 order because they refused

to take affirmative steps of pulling Nevarez from his trips and requiring him to appear. Southwest

Attorney Mayberry’s July 2 email merely “respectfully request[ed]” that Nevarez attend the

deposition.10 For its part, Local 556 joined with Southwest to email Nevarez his deposition notice

on July 1, indicating only that the union “supports [his] testimony.” 11 When Nevarez failed to

appear for his July 4 deposition, Southwest Attorney Mayberry emailed Nevarez on July 5 and

wrote only that Southwest “strongly urge[s] you to make yourself available for a deposition

tomorrow evening.”12

     Southwest and Local 556’s refusal to take appropriate actions to carry out the Court’s July 1

order to make Nevarez available for the July 4 deposition required Carter to serve multiple

subpoenas and incur additional costs and expenses from July 1 (incremental to those incurred for




7
  Dkt. No. 297 (“The Court … ORDERS that the witnesses [including Nevarez] shall be made
available by the defendants for deposition.”) (emphasis added).
8
  Nevarez Deposition Tr. 22:16-21 (Dkt. No. 330-1).
9
  Dkt. No. 339.
10
   Dkt. No. 350-1, Ex. 1(A) at p.5, ¶2.
11
   Dkt. No. 350, p.2, ¶2. Notably, Southwest and Local 556 fail to include their July 1 email to
Nevarez as an exhibit.
12
   Dkt. No. 350-1, Ex. 1(B) at p.8, ¶1.
                                                 3
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the deposition that was ultimately held on July 8), all associated with taking, arranging, preparing

for, and serving subpoenas for Nevarez’s deposition.13 Accordingly, Southwest and Local 556

should pay all of the requested costs and expenses Carter requested in her opening motion and

brief.

     B. The CBA gives Southwest and Local 556 rights to pull flight attendants from their
        trips so that they may comply with subpoenas and court orders.

     Contrary to Southwest and Local 556’s characterizations,14 the CBA contemplates that

Southwest can pull a subpoenaed flight attendant from his trips: “A Flight Attendant who, at the

Company’s request or who is subpoenaed, appears in connection with any occurrence arising out

of the Flight Attendant’s service with the Company will be paid for any such trips missed and such

trips will count toward her/his monthly credit.”15 Southwest also grants flight attendants similar

leave for jury duty.16 Furthermore, Southwest could have easily covered Nevarez’s trip because it

has “reserve” flight attendants who remain on call in case any flight attendant scheduled for a trip

must cancel at the last minute,17 and flight attendants pick up trips that are placed into “open

time.”18 The CBA establishes Southwest’s broad authority to control employees:

            “Employees covered by [the CBA] shall be governed by all Company rules,
             regulations, and orders previously or hereafter issued by proper authorities of the
             Company which are not in conflict with [its] terms and conditions.”19




13
   Dkt. No. 303, pp.3-4.
14
   Despite CBA provisions to the contrary and without citing any provisions supporting their
position, Southwest and Local 556 make conclusory assertions that the CBA only gives the
company “limited rights to involuntarily pull a flight attendant from a scheduled trip except in very
limited circumstances.” Dkt. No. 350, p.4; Dkt. No. 350-3, Ex. 3 at p.2, ¶2.
15
   Tr. Ex. 6, Art. 24 ¶ 5 (SWA 177).
16
   Tr. Ex. 6, Art. 15, ¶ 8 (SWA 122-123); see id. at ¶ 8(B) (SWA 123) (“The Company may either
pull an entire pairing or a portion of a pairing for Jury Duty based on the Jury Duty obligation.”).
17
   Tr. Ex. 6, Art. 11 (SWA 73-93).
18
   Tr. Ex. 6, Art. 24 ¶ 5 (SWA 177); Tr. Ex., Art. 9 (SWA 39) (open time).
19
   Tr. Ex. 6, Art. 3 ¶ 2 (SWA 11).
                                                 4
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           “The right to manage and direct the working forces, subject to the [CBA’s] provisions
            … is vested in and retained by the Company.”20

     Pursuant to the CBA, Local 556 can also ask Southwest to relieve flight attendants “from flight

status for purposes of official Union business.”21 Thus, Local 556 could have also coordinated

Nevarez’s appearance for the purposes of carrying out official union business (i.e., complying with

the Court’s July 1 Order).

     Southwest knew that it could pull employees from flights to attend court-ordered depositions.

During an early-morning July 3, 2022 phone conversation between Carter attorneys Hill and

Gilliam and Southwest’s McKeeby, Hill even suggested to McKeeby that Southwest pull Talburt

from a flight that conflicted with the time of his deposition and, instead, allow a reserve flight

attendant to carry out his duties for any scheduled trip.22 Southwest had the same option to pull

Nevarez. Despite Southwest’s knowledge and control over Nevarez’s work schedule, Southwest

allowed Nevarez to proceed with working a trip that conflicted with the court-ordered July 4

deposition. Even Nevarez knew that was an option, testifying at deposition, “I was flying, you

were aware of it, Southwest was aware of it. If they wanted to make me available, they would have

pulled me off my trip and they would have told me to come to Dallas.”23 Southwest and Local 556

failed to comply with the Court’s July 1 order because, despite their control over Nevarez’s work

schedule under the CBA, they knowingly allowed Nevarez to continue working his scheduled trips

instead of pulling him for his July 4 deposition.




20
   Tr. Ex. 6, Art. 3 ¶ 3 (SWA 11).
21
   Tr. Ex. 6, Art. 27 ¶ 4 (SWA 187).
22
   Ex. 1, Affidavit of Matthew D. Hill, ¶ 4.
23
   Nevarez Deposition Tr. 22:16-21 (Dkt. No. 330-1).
                                                    5
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      C. Carter’s opportunity to depose Nevarez during discovery is irrelevant to the question
         of Southwest and Local 556’s compliance with the Court’s July 1 order.

      The Court ordered Southwest and Local 556 to make Nevarez available for a July 4 deposition

because he was unavailable for trial, so the Defendants’ complaints about taking an earlier

deposition are irrelevant. While Southwest and Local 556 argue that Carter and her counsel could

have taken Nevarez’s deposition sooner,24 the Court authorized Carter to take Nevarez’s deposition

because he refused to appear at trial, and he was otherwise unavailable.25 The prospect of taking

Nevarez’s deposition arose because Carter sought to call Nevarez as a witness at trial. Moreover,

the Federal Rules of Civil Procedure do not require Carter to depose every potential witness that

she might call at trial. Even if Carter had not previously deposed certain witnesses, the Federal

Rules allow her to call them for trial.

                                            CONCLUSION

      For the foregoing reasons and those argued in her opening motion and brief, the Court should

require Southwest and Local 556 to pay Carter’s expenses in serving all subpoenas, witness fees,

and court reporter and videographer fees and for reasonable attorney fees incurred in securing

Nevarez’s appearance and preparing for and attending Nevarez’s deposition.

Dated: August 9, 2022                          Respectfully submitted,


                                               /s/ Matthew B. Gilliam
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24
     Dkt. No. 350, at p.5.
25
     Pretrial Conf. Tr. 145:22-25, 146:6-12; Dkt. No. 282, pp.9-10; Dkt. No. 294; Dkt. No. 297.
                                                  6
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                                     Certificate of Service

   I hereby certify that on August 9, 2022, I electronically filed the foregoing document with the

Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record.



                                            /s/ Matthew B. Gilliam
